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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:20−cr−00637
                                                           Honorable Manish S. Shah
Jeremiah Harris
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Friday, April 29, 2022:


       MINUTE entry before the Honorable Manish S. Shah: Telephone hearing held on
motion to reset sentencing [56]. For the reasons stated on the record, sentencing is reset to
7/6/22 at 10:00 a.m. in Courtroom 1919. Presentence report is due now due 6/1/22.
Sentencing memoranda with objections to the presentence report and discussing 18 U.S.C.
§ 3553(a) factors must be filed (in one combined filing per side) by 6/22/22. Any
responses must be filed by 6/29/22. Failure to file the memoranda by that deadline risks
waiver of any objections to the presentence report. Notices mailed. (psm, )




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